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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION

  SONY MUSIC ENTERTAINMENT, et al.,
                 Plaintiffs,
                                        Civil No. 1:18-cv-950 (LO / JFA)
              v.

  COX COMMUNICATIONS, INC, et al.,

                    Defendants.


         COX’S REPLY IN SUPPORT OF ITS RENEWED MOTION FOR
   JUDGMENT AS A MATTER OF LAW OR, IN THE ALTERNATIVE, A NEW TRIAL
        UNDER FEDERAL RULES OF CIVIL PROCEDURE 50(b) AND 59(a)
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                                          INTRODUCTION

         Plaintiffs’ opposition attempts to paper over fatal flaws in key parts of Plaintiffs’ case by

 proposing novel legal theories, ignoring settled law, substituting argument for evidence, and

 appealing to inapposite and overruled legal decisions. Their arguments fail, and the Court should

 grant JMOL to Cox on each of these issues or, in the alternative, a new trial.

                                             ARGUMENT

 I.      Plaintiffs’ Evidence Is Insufficient to Hold Cox Vicariously Liable for Direct
         Infringements

         Plaintiffs’ attempts to avoid JMOL on vicarious liability ignore the universally agreed

 principle that flat monthly fees for providing Internet service do not constitute the “direct” financial

 benefit required for vicarious liability, unless the plaintiff proves that the ability to infringe acted

 as a “draw” to the service, in the sense that “the value of the service lies in providing access to

 infringing material.” Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2005) (quoting S. Rep.

 105-190, at 44 (1998)). Plaintiffs do not dispute that Cox’s revenues come from flat monthly fees

 that are the same for infringers and non-infringers alike. Accordingly, Cox cannot be vicariously

 liable unless the ability to infringe Plaintiffs’ works in suit was the “draw” for subscribers to buy

 its service. Because Plaintiffs offered no evidence that the ability to infringe Plaintiffs’ works was

 such a “draw,” Cox is entitled to JMOL of no vicarious liability.

         A.      Plaintiffs’ lack of evidence of a direct financial benefit to Cox is fatal to their
                 vicarious liability claim.

                 1.      Evidence of a “draw” is required, and Plaintiffs offered none.

         Plaintiffs’ arguments that they need not show a “draw” are contrary to the overwhelming

 weight of authority. Plaintiffs concede that the only revenue Cox receives from alleged infringers

 is in the form of flat monthly fees, and as this Court recognized in BMG, “Cox’s receipt of monthly

 fees is only evidence of direct financial benefit if some portion of those fees is generated from

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 subscribers that are drawn to Cox’s service at least in part because of the infringing activity alleged

 in [the] case. Without that evidence, the requisite causal connection between the benefit and the

 infringing activity is not established.” BMG Rights Mgm’t (US) LLC v. Cox Commc’ns, Inc., 149

 F. Supp. 3d 634, 676 (E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th Cir. 2018)

 (“BMG I”) (first emphases added; collecting cases).

        None of Plaintiffs’ authorities support their contrary position. Plaintiffs’ reliance on the

 Ninth Circuit’s Fonovisa decision, see Opp. 11, is misplaced. Fonovisa, Inc. v. Cherry Auction,

 Inc., 76 F.3d 259 (9th Cir. 1996). Fonovisa predates, and so informs (not contradicts) Congress’s

 guidance that “[i]n general, a service provider conducting a legitimate business would not be

 considered to receive a ‘financial benefit directly attributable to the infringing activity’ where the

 infringer makes the same kind of payment as non-infringing users of the provider's service,” unless

 “the value of the service lies in providing access to infringing material.” S. Rep. 105-90 (1998).

 More relevant authorities are those that, like Ellison and BMG, post-date Congress’s guidance and

 address vicarious liability by ISPs, rather than flea markets. 1 In addition, because Fonovisa

 analyzed the adequacy of the plaintiff’s allegations on a motion to dismiss, it lacks relevance to

 this Court’s assessment of the adequacy of Plaintiffs’ trial evidence.

        In any event, far from supporting “a broader consideration of causation,” Fonovisa is

 generally recognized to be an example of a court requiring evidence of a “draw” from the

 infringement of specific works at issue. See, e.g., Adobe Sys. v. Canus Prods., 173 F. Supp. 2d

 1044, 1051 (C.D. Cal. 2001); Sony Discos, Inc. v. E.J.C. Family P’ship, No. H-02-3729, 2010 U.S.



 1
   In discussing vicarious liability, Congress approvingly cited Religious Technology Center v.
 Netcom On-line Communications Services, 907 F. Supp. 1361 (N.D. Cal. 1995) and Marobie-FL,
 Inc. v. National Association of Fire Equipment Distributors, 983 F. Supp. 1167 (N.D. Ill. 1997).
 Both held that online defendants (an ISP and a website) whose only revenues came from periodic
 payments that did not depend on the payer’s activities could not be held vicariously liable.
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 Dist. LEXIS 33435, at *10-11 (S.D. Tex. Mar. 31, 2010). Indeed, as one court recognized,

 “[w]ithout the requirement that the counterfeit goods provide the main customer ‘draw’ to the

 venue, Fonovisa would provide essentially for the limitless expansion of vicarious liability into

 spheres wholly unintended by the court.” Adobe Sys., 173 F. Supp. 2d at 1051. So too here.

        Thus, to prevail on vicarious liability, Plaintiffs had to produce evidence that infringement

 was a “draw” to Cox’s service. They have offered none. The suggestion that “the scale of the

 infringement” is enough to meet the “draw” standard (Opp. 12) is pure ipse dixit, unsupported by

 either authority or logic. Even if it is true that P2P usage constitutes 13% of the traffic on Cox’s

 network and 99% of that usage is infringing, the overwhelming value of Cox’s service is in its

 non-infringing uses. In the absence of any evidence that any subscribers came to Cox because of

 the ability to infringe, the “scale of the infringement” suggests that infringement was a classic

 “added benefit” of subscribing, not a “draw.” Ellison, 357 F.3d at 1079.

        Nor does evidence that “Cox aggressively advertised its network speeds as an enhancement

 to subscribers’ ability to download music” establish the required “draw.” Id. High bandwidth is

 content-neutral: a subscriber who bought higher bandwidth in order to infringe would pay exactly

 the same monthly fees as a subscriber who bought higher bandwidth to speed up his iTunes

 downloads. The existence of a weak correlation between infringing subscribers’ ticket totals and

 their payment amounts does not establish a direct causal relationship between infringement and

 Cox’s revenue, and certainly does not make infringement “the value of the service” that Cox

 provides. Absent any direct evidence that any higher-bandwidth users subscribed for the purpose

 of infringing, Cox’s advertisements do not establish the required causal relationship. 2



 2
   By contrast, Plaintiffs’ CAS system advised the public in its website FAQ that CAS “does not,
 in any circumstance, require the ISP to terminate a subscriber account.” DX-66 at 4. A user seeking
 an ISP for the purpose of infringement would have been “drawn” to a CAS ISP, not to Cox.
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         Finally, Plaintiffs’ claim that Cox’s “retention of subscribers” is proof of a draw under

  Ellison is meritless. There is no evidence that Cox retained subscribers because of their ability to

  infringe. There is only evidence that Cox retained subscribers despite infringement that could have

  led to their termination. The former would be evidence that the subscribers were drawn to remain

  with Cox in order to infringe. The latter is only evidence that subscribers were allowed to remain

  with Cox, regardless of what drew them there. It does not suggest that infringement constituted

  the “value of the service” that drove them to subscribe. Ellison, 357 F.3d at 1079.

         Plaintiffs’ novel, expansive theory of “draw” is untethered to traditional requirements of

  causation (and even Article III standing), and would presumptively make any commercial ISP

  service vicariously liable for all infringement occurring over its network. UMG Recordings, Inc.

  v. Grande Commc’ns Networks, LLC, No. A-17-CA-365-LY, 2018 WL 1096871, at *10 (W.D.

  Tex. Feb. 28, 2018), report and recommendation adopted, 2018 WL 1905124 (W.D. Tex. Mar.

  28, 2018) (dismissing vicarious liability claim, since permitting claim based on allegations “that

  the existence of music and the BitTorrent protocol is the draw … would impose liability on every

  ISP, as the music at issue is available on the Internet generally, as is the BitTorrent protocol, and

  is not something exclusively available through Grande's services.”); Adobe Sys., 173 F. Supp. 2d

  at 1051 (noting that relaxing “the requirement that the counterfeit goods provide the main customer

  ‘draw’ to the venue… would provide essentially for the limitless expansion of vicarious liability”).

  The Court should grant JMOL to Cox on this issue.

                 2.      Plaintiffs’ evidence fails to show a “direct” financial benefit to Cox
                         from the infringement.

         Faced with overwhelming authority precluding vicarious liability for defendants who, like

  Cox, obtain their revenues from flat monthly fees that are identical for non-infringing and

  infringing subscribers, and recognizing that their evidence is insufficient to show the necessary


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  “draw,” Plaintiffs strain to recharacterize those flat fees as “direct” benefits from infringement.

  But they cannot. The relevant section of their brief (Opp. 9-11) includes no citations to any

  authority, and for good reason: the financial benefits on which they rely are precisely the kind of

  indirect benefits that cannot support a judgment of vicarious liability.

         Much of Plaintiffs’ evidence of “direct financial benefit” consists of evidence that Cox

  continued to collect revenue from subscribers after receiving notice of the infringement. Opp. at

  9, 10. But those revenues were not direct revenues from the infringement, in the sense that the

  revenues were an immediate result of the infringements, and changed depending on the amount of

  infringement that was occurring. 3 Rather, they were payments for internet service, paid equally

  by infringing and non-infringing subscribers alike. The fact that Cox receives the same revenue

  from a subscriber whether that subscriber infringes or not precludes a finding that Cox receives a

  “direct financial benefit” from the infringement, unless the plaintiff proves that infringement is a

  “draw.” Every court to consider the issue has so found. See Mot. 3-4 and n.2.

         Plaintiffs’ suggestion that Cox’s ability to terminate the subscriber somehow changes this

  result is meritless. Plaintiffs’ position would gut the universally accepted principle that flat-fee-

  for-subscription relationships—which the provider always has the ability to terminate—do not

  provide “the requisite causal connection between the benefit and the infringing activity” needed to

  establish vicarious liability. BMG I at 676. Plaintiffs’ position would also allow the ability to

  terminate to (in their view) establish both the “ability to supervise” and the “direct financial




  3
    See, e.g., Arista Records LLC v. USENET.com, 633 F. Supp. 2d 124, 156 (S.D.N.Y. 2009)
  (finding vicarious liability where “Defendants’ revenues increased depending on their users’
  volume of [infringing] downloads” and distinguishing that from evidence of a “draw” from the
  availability of infringing content) (emphasis added); Shapiro, Bernstein & Co. v. H.L. Green Co.,
  316 F.2d 304, 308 (2d Cir. 1963) (finding defendant’s “share of the gross receipts from … sales”
  of infringing records gave it “a most definite financial interest” in the infringing activity).
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  benefit” prongs of vicarious liability. There is no authority to support Plaintiffs’ argument.

  Plaintiffs fare no better with their assertion that Cox received a direct financial benefit from the

  infringement because if it had terminated infringers, “its service would have been less attractive

  for those who wanted to use it to infringe.” Opp. at 10. Plaintiffs’ argument proves too much: the

  same would be true for any “content-neutral commercial service that makes a wide selection of

  services and activities available to its subscribers … [and] charges the same flat monthly fees to

  its users” and has the ability to terminate subscribers. BMG I at 676. But those are precisely the

  characteristics of a financial relationship that does not confer a “direct financial benefit” on the

  service provider. Id. And of course, Plaintiffs’ “attractiveness” argument is really a thinly

  disguised argument that infringement is a “draw” to Cox’s network. But there is no evidence that

  Cox’s network was any more “attractive” to would-be infringers than any other ISP; and in any

  event, the fact that the ability to infringe might make an ISP more attractive for infringers does not

  transform the ability to infringe into “the value of the service.” Ellison, 357 F.3d at 1079.

                 3.      No evidence connects any financial benefit to infringement of
                         Plaintiffs’ works at issue.

         Absent from Plaintiffs’ analysis is evidence that the ability to infringe copyright, and in

  particular Plaintiffs’ copyrights, directly generated any revenue for Cox or factored into any

  subscriber’s decision to subscribe to Cox’s service, continue to subscribe, or purchase faster

  service. See Opp. 9-10. As this Court recognized in BMG, vicarious liability requires evidence that

  “some portion of [such] fees is generated from subscribers that are drawn to Cox’s service at least

  in part because of the infringing activity alleged in this case. Without that evidence, the requisite

  causal connection between the benefit and the infringing activity is not established.” Id. A

  copyright “action is a specific lawsuit by a specific plaintiff against a specific defendant about

  specific copyrighted [works]; it is not a lawsuit against copyright infringement in general[.]”


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  Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 673 (9th Cir. 2017) (noting that a rule that would

  allow a court to find liability for works not in suit is, “[a]t the very least, … in significant tension

  with Article III’s standing requirement.”). Without evidence that Cox obtained a direct financial

  benefit from the works in suit, Plaintiffs cannot establish vicarious liability.

          B.      Plaintiffs lack any evidence of vicarious liability as to Cox Business
                  subscribers.

          Rather than address the additional reasons why Plaintiffs’ evidence is insufficient to hold

  Cox vicariously liable for alleged infringements by Cox Business subscribers, Plaintiffs simply

  reiterate their failed arguments in favor of vicarious liability for subscribers generally. First, they

  miss the mark with an irrelevant argument that Cox lacks evidence to show which works at issue

  were “only” infringed by Cox Business subscribers. But it is not Cox’s burden to prove that certain

  works were not infringed. Second, Plaintiffs fail to address any of the obvious differences between

  direct infringements committed by an individual ISP subscriber, and alleged infringements (which

  could be direct or indirect) by end users of the ISP’s business subscribers. Plaintiffs simply recycle

  their arguments that the ability to terminate an account for any reason is the same thing as the

  ability to supervise direct infringers. But the ability to indiscriminately terminate internet access

  for dozens, hundreds, or thousands of a commercial account’s end users is not the same as the

  ability to supervise the infringing activity of a single end user among the multitude. 4

          Third, Plaintiffs’ claim that there is a “readily apparent” causal nexus between the flat fees

  paid by Cox Business subscribers, and infringement committed by the end users of the business’s

  network, does not withstand scrutiny. Their argument that Cox benefitted from the collection of

  monthly fees from business subscribers, regardless of whether the account was used for


  4
   Indeed, Plaintiffs have no evidence that even a single end user of any Cox Business customer
  was a repeat infringer, have no evidence of how prevalent infringement was among such end users,
  and made no attempt to obtain such information.
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  infringement or not, is precisely the type of “evidence” that requires showing a “draw” from

  infringement—but there is no evidence of a draw. Nor do Plaintiffs even attempt to argue that

  there is, thereby waiving any opposition on this issue.

          Finally, there is no merit to Plaintiffs’ theory that Cox may be held vicariously liable for

  “knowingly allowing [Cox Business subscribers’] infringement to continue unabated,” since that

  is (if anything) a theory of contributory infringement, not vicarious liability.

          C.      A finding for Cox on vicarious liability requires a new trial on damages.

          Plaintiffs do not dispute that basic fairness dictates a new trial on damages should the Court

  find Cox not vicariously liable. Instead, they argue that “the jury’s award was per work infringed,”

  with no “multiplier based on liability for both claims, rather than one.” Plaintiffs’ self-serving

  position simply ignores the reality that finding liability on two counts instead of one would almost

  certainly lead a jury to award higher damages. 5 This is particularly true given the instruction

  requiring the jury to consider Cox’s “profits earned from the infringement”: a jury that

  unreasonably found a direct financial benefit flowing from infringement would almost certainly

  place improper weight on the “profits earned because of infringement” factor, necessitating a new

  trial. In addition, if the vicarious liability issue had been taken from the jury at the Rule 50(a) stage,

  Cox would have been entitled to have the jury instructed to disregard aspects of Plaintiffs’ evidence

  that were admitted solely for their relevance to that issue, including evidence of the “value” of

  infringing subscribers and revenue from bundled services. See ECF 590 at 3. Removing that

  evidence would have altered the jury’s consideration of damages.




  5
    By way of comparison, the BMG jury found that Cox was a contributory infringer, but not
  vicariously liable, and awarded the plaintiff $25 million. That result, which was vacated on appeal,
  is nonetheless instructive.
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  II.    Cox Is Entitled to JMOL Limiting Certain of Plaintiffs’ Works to a Single Statutory
         Award.

         A.      Cox’s Motion is both proper and properly supported.

         Plaintiffs’ argument that “[a] Rule 50 motion must be based on evidence adduced at trial”

  is wrong, as it ignores binding Fourth Circuit law mandating the procedure Cox follows here.

                 1.      Cox is entitled to JMOL on the purely legal issue that Plaintiffs are
                         not entitled to duplicative recovery for single “works.”

         Cox moved for summary judgment on two purely legal issues, which the Court denied.

  First, Cox moved for summary judgment on the issue of whether Plaintiffs are entitled to only one

  award for statutory damages for a music composition in suit and the derivative sound recording in

  suit. Second, Cox moved on the issue of whether Plaintiffs are entitled to only one award of

  statutory damages for a compilation of sound recordings, as opposed to separate awards for each

  individual track. Because these are pure legal issues, regarding which no facts were in dispute at

  the time of summary judgment, this motion is the proper mechanism for preserving these in light

  of the Court’s denial of Cox’s motion for summary judgment. See Varhese v. Honeywell Int’l, Inc.,

  424 F.3d 411, 423 (4th Cir. 2005). And because Plaintiffs have never disputed that a significant

  number of the works in suit are either derivative of other works in suit or are parts of compilations,

  if Cox’s legal arguments on these issues are correct, then a judgment based on 10,017 works in

  suit cannot stand. To the extent there is a genuine dispute about the correct numbers of works in

  suit, a new trial would be necessary to determine the number of works and associated damages.

         In any event, as described in more detail below, the evidence necessary for the

  determination of these issues was presented at trial.

                 2.      The record contains ample evidence to support limiting Plaintiffs’
                         damages to one award for a musical composition and its derivative
                         sound recording.

         Plaintiffs do not dispute that PX-1 and PX-2, which are both in evidence, list the sound

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  recordings in suit and music compositions in suit, respectively. Yet they claim that these exhibits

  cannot demonstrate where a music composition in suit is embedded in a sound recording in suit

  because “there are simply too many separate musical compositions that happen to have the same

  title[.]” Opp. at 17, n.10. Not so. While there are some music compositions that do have the same

  title, the vast majority do not, rendering the determination of whether works on PX-1 share the

  same title as works on PX-2 straightforward. 6

         Plaintiffs also argue that Cox’s Motion is improper because the jury heard no evidence

  about how these works overlapped. They are mistaken: the overlap is evident on the face of the

  exhibits. Expert testimony is not required to determine whether a song title that appears in PX-1

  also appears in PX-2. As Cox’s counsel explained, the jury could have, but was precluded from so

  doing, compared the titles of sound recordings and music compositions to determine the overlap.

  Tr. 2857:4-23 (noting separate registrations for specific musical composition and specific sound

  recording of the same work). This is sufficient to support Cox’s renewed motion for judgment as

  a matter of law. In considering JMOL, the court is required to consider “all of the evidence in the

  record.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000). The evidence

  necessary to make the JMOL determination at issue was in the record, and is properly considered

  here. More simply, Plaintiffs admitted in their own exhibit PX-38 that the vast majority of the

  music compositions in suit overlapped with derivative sound recordings in suit. 7 At the summary



  6
    Even if a few cases remained ambiguous (for which there is no evidence), Plaintiffs do not dispute
  that the determination could readily be made for the vast majority of overlapping works.
  7
    Plaintiffs argue that PX-38 is not part of the record because they unilaterally withdrew it before
  trial, but do not dispute that it was made part of the summary judgment record and did not dispute
  its accuracy at that time. As for Plaintiffs’ assertion that “the Court struck all paragraphs and
  exhibits underlying SUF ¶ 9 that purport to provide evidence about the number of works that were
  registered as works made for hire, albums, or both,” that assertion is incorrect. The Court struck
  what it determined to be improper “testimony” in the Kearney Declaration, and certain summary
  exhibits. It did not strike the underlying exhibits on which Cox’s argument relied (Exhibits 6, 8,
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  judgment stage, all but 882 of the total 3,402 were admittedly embedded in sound recordings. See

  PX-38; see also Opp. 17 (Plaintiffs do not dispute that PX-38 is accurate).

                 3.      The record contains ample evidence to support limiting Plaintiffs’
                         damages to one award per album registered as a derivative work.

         Plaintiffs claim that Cox did not introduce evidence “as to whether a sound recording in

  suit is part of a compilation or the effect that might have on the works in suit.” Opp. at 21. This is

  incorrect for reasons also discussed above. As a preliminary matter, PX-1 (the list of sound

  recordings in suit) demonstrates on its face that multiple sound recordings were registered together

  on the same certificates, which Plaintiffs admit means that they were released as part of the same

  album or compilation. See ECF 396 at 4. It is not a challenging exercise to simply tally the 1,498

  unique registration numbers on PX-1. This is the factual foundation upon which the jury could

  have determined how many awards of statutory damages to apply. The process would have been

  simple, since the jury needed only to award statutory damages for each unique registration number

  on PX-1, as opposed to each individual track. Further, as Cox explained to the Court, not only

  PX-1 but also the admitted registration certificates themselves denote which works in suit were

  registered together as part of albums or compilations. Tr. 2857:4-23 (noting specific registration

  for an album, registered as a work made for hire, which covers nine different sound recordings).

         B.      A musical composition and its derivative sound recording are one work for
                 purposes of statutory damages, and entitled to a single award.

         Under the Copyright Act, “the copyright owner may elect … statutory damages … with

  respect to any one work,” and “all the parts of a … derivative work constitute one work.” 17 U.S.C.

  § 504(c). Plaintiffs attempt to evade this limit by arguing that the term “copyright owner” must be



  20, and 21). See ECF 521 at 2, ECF 506 at 14-15. And, as discussed above, Plaintiffs’ own trial
  exhibits and admissions establish that they asserted overlapping works, and that the vast majority
  of their sound recordings were registered as compilations.
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  interpreted to reach only the case of a single copyright owner, so that if the different “parts” of a

  derivative work have different owners, each such owner may separately seek a statutory award.

  Plaintiffs’ proposed interpretation is contrary to Congress’s express instructions on interpreting

  statutory language, inconsistent with the way the term is used in the Copyright Act, contrary to

  available authority, and would lead to absurd results.

                 1.      1 U.S.C. § 1 governs the interpretation of the Copyright Act

         Plaintiffs argue that 1 U.S.C. § 1, the so-called Dictionary Act, “does not apply in the

  circumstances here.” Opp. 19. They are wrong. As the Supreme Court recently recognized, courts

  “must consult [§ 1] in determining the meaning of any Act of Congress[.]” Burwell v. Hobby

  Lobby Stores, Inc., 573 U.S. 682, 707 (2014) (emphasis added, internal quotation marks and

  citation omitted). Plaintiffs’ citation to U.S. v. Hayes is not to the contrary: notwithstanding a

  footnote in that case referring to “the rare occasions” when the Court “relied on” the Dictionary

  Act, the bulk of Hayes is devoted to analyzing whether the statutory term “element” included the

  plural “elements.” 555 U.S. 415, 422 n.5 (2009); Opp. at 19.

         Blackman v. Dist. of Columbia, a case involving attorneys’ fees in a class action context,

  gives Plaintiffs’ argument no support. 633 F.3d 1088 (D.C. Cir. 2011). Blackman involved an

  attempt to apply the Dictionary Act to pluralize the terms “an attorney” and “a party” in a provision

  capping at $4000 the fees “of an attorney who represents a party in an action” under the

  Individuals with Disabilities Education Act. Id. at 1090 (emphasis added). The result would have

  been to cap at $4000 the available attorney fees for a class action involving more than 6,000

  plaintiffs. The court declined to pluralize “an attorney” and “a party” under the Dictionary Act

  because the context of the statute itself “required otherwise”: it was undisputed that the key phrase

  “an action” was intended to be singular, making pluralization of the other nouns in the provision

  incongruous. Id. at 1092. Just as important, the plural reading violated “the ‘evident intent’ of the
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  statute,” which was “to address individual IDEA proceedings, not class actions.” 8 Id.

         Here, Plaintiffs have pointed to nothing within the Copyright Act itself to suggest that the

  phrase “copyright owner” should not include the plural. Accordingly, they have no basis for

  arguing that “the context requires” that the Dictionary Act not apply. Rowland v. California Men’s

  Colony, Unit II Men’s Advisory Council, 506 U.S. 194, 199 (1993) (holding that the relevant

  “context” for purposes of 1 U.S.C. §1 is “the text of the Act of Congress surrounding the word at

  issue, or the texts of other related Congressional Acts”). Nor have they identified any basis for

  concluding that “the evident intent” of the Copyright Act was to limit “copyright owner” to the

  singular. To the contrary, the relevant legislative history says exactly the opposite. H.R. Rep. No.

  94-1476, at 162 (1976); S. Rep. No. 94-473, at 144 (1975).

                 2.      Plaintiffs’ urged interpretation is inconsistent with the Copyright Act.

         In fact, Plaintiffs’ legally defective “singular only” argument is inconsistent with how the

  singular term “copyright owner” is used throughout the Copyright Act, in contexts that cannot

  reasonably be limited as Plaintiffs suggest. For example, the Act provides that the term

  “‘Copyright owner’, with respect to any one of the exclusive rights comprised in a copyright, refers

  to the owner of that particular right.” 17 U.S.C. § 101. In this context, the term “owner” necessarily

  includes both the singular and plural, since any “particular right” under the Copyright Act may

  have multiple owners. And see, e.g., 17 U.S.C. § 108(h)(2)(C) (“No reproduction, distribution,

  display, or performance is authorized under this subsection if … the copyright owner or its agent

  provides notice…”). Plaintiffs do not provide even a single example supporting their reading,

  which would make a hash of the Copyright Act by requiring the same phrase to have different


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    The Blackman court’s statement on which Plaintiffs rely—that the defendant’s interpretation
  would have created “a perverse incentive for breaking single class actions into inefficient multiple
  actions to generate larger counsel fees in direct contradiction of Congress's apparent goal at
  reducing costs”—was as an additional reason for the holding, not the primary reason. Id. at 1092.
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  meanings in different sections. See Gustafson v. Alloyd Co., 513 U.S. 561, 570, 115 S. Ct. 1061,

  1067 (1995) (observing “the normal rule of statutory construction that identical words used in

  different parts of the same act are intended to have the same meaning.”).

                 3.      No other authority supports Plaintiffs’ urged interpretation.

         Plaintiffs’ only proposed authority for the contrary result is a decades-old district court

  decision that was recently rejected by the governing Second Circuit. 9 See Opp. at 13; Mot. at 13.

  As discussed in detail in Cox’s Motion, that case is not good law, and is inapposite here. Id. Finally,

  Plaintiffs argue that it would be “absurd” to require the copyright owners of a musical composition

  and its derivative sound recording to sue separately in order to obtain separate damages awards,

  but fail to explain what is absurd in holding copyright plaintiffs to the foreseeable consequences

  of their tactical pleading decisions. See Mot. at 14.

         C.      Compilations, such as sound recordings registered as works made for hire,
                 are “one work” for purposes of § 504(c).

         It is black letter law that a “compilation,” no matter how many “parts” or separate works it

  may contain, constitutes “one work” and is entitled to only a single statutory damages award

  pursuant to statute. 17 U.S.C. § 504(c)(1). And Plaintiffs do not dispute that many of their works

  at issue were registered and initially issued as albums, which are unquestionably “compilations”

  of the sound recordings they contain. Nor do Plaintiffs dispute that thousands of their claimed

  sound recordings were registered as works made for hire, on registrations claiming multiple sound

  recordings. As Cox’s Motion explained in detail, Plaintiffs’ registrations of multiple sound

  recordings as “works made for hire” are compilations by definition under the Copyright Act, and



  9
    Plaintiffs also cite to Newton v. Diamond for the here-irrelevant fact that musical compositions
  and sound recordings can be protected by separate copyrights. See Opp. 18, citing 204 F. Supp. 2d
  1244 (C.D. Cal. 2002). Newton, in which only a single musical composition copyright was at issue,
  is mute on how overlapping works should be treated for statutory damages purposes. Id.
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  the component sound recordings are indisputably the “parts” of that compilation. 17 U.S.C. § 101;

  Mot. 15-16. Nothing in Plaintiffs’ opposition is to the contrary: all their cited authorities concern

  judicial efforts to interpret the term “one work” in the absence of statutory guidance. Those cases

  lack relevance here, where the statute explicitly defines the term: “all the parts of a compilation

  … constitute one work.” 17 U.S.C. § 504(c) (emphasis added).

         Contrary to Plaintiffs’ contention, this legal issue concerning albums expressly registered

  as works made for hire has never been “resolved” as Plaintiffs propose, by this Court or any other

  court that Cox is aware of. See Opp. 22. Plaintiffs’ attempt to rely on the BMG holding is

  unavailing for multiple reasons: the works in BMG were musical compositions, which the

  Copyright Act treats very differently from sound recordings; there was no issue of the musical

  compositions at issue having been published in album form; there was no issue vis-à-vis “work

  made for hire” registrations covering multiple works.

         Instead of meeting and responding to Cox’s actual arguments, Plaintiffs simply ignore the

  plain statutory language that precludes them from garnering separate statutory awards for each

  “part” of each registered compilation, and urge the Court to hold that a copyright owner may

  recover a separate statutory award for every part of a compilation that has “economic value,” as

  long as those parts were “issued” separately. Opp. 22. Cox does not dispute the general proposition

  that infringement of only one part of an album or compilation may constitute copyright

  infringement under appropriate circumstances. But where multiple parts of a single compilation

  are the subject of the same lawsuit, the Fourth Circuit has spoken loud and clear on the question:

  “[a]lthough parts of a compilation … may be ‘regarded as independent works for other purposes[,]’

  for purposes of statutory damages, they constitute one work.” Xoom, Inc. v. Imageline, Inc., 323

  F.3d 279, 285 (4th Cir. 2003) (emphasis added) (quoting H.R. Rep. No. 94-1476, at 162 (1976))



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  (abrogated on other grounds). 10 Xoom is particularly relevant because in that case—as is also true

  here—the form of registration for the works at issue established that they were in fact compilations,

  not simply individual images that had been registered together for convenience. And there—as

  here—the defendant had allegedly infringed multiple “parts” of the compilations. See Xoom, Inc.

  v. Imageline, Inc., 93 F. Supp. 2d 688, 691 (E.D. Va. 1999) (abrogated on other grounds) (noting

  that defendant had allegedly infringed “approximately 2,966 of the approximately 11,200 clip art

  images contained in two registered works”). On these facts, the Fourth Circuit limited the plaintiff

  to one award per compilation, notwithstanding that the alleged infringement “took place … with

  respect to particular, individual … images.” Id. at 692. That result is required here as well. Because

  this is a purely legal issue, and undisputed, a reasonable jury could not have held otherwise.

  III.   Plaintiffs’ Evidence with Respect to Cox Business Subscriber Accounts Is
         Insufficient to Hold Cox Liable for the Acts of Unidentified Direct Infringers

         Secondary liability for infringement can attach only if a plaintiff succeeds in linking the

  defendant to underlying direct infringement by proving all required elements of contributory

  infringement or vicarious liability. Plaintiffs failed to provide evidence sufficient to prove that any

  Cox Business subscriber was a direct or indirect infringer, and failed to provide evidence sufficient

  to hold Cox liable for direct infringements by end users of such Cox Business subscribers.

         In opposition, Plaintiffs focus on the Ninth Circuit’s Cobbler Nevada decision, arguing that

  it “does not apply here” because Cox is not similarly situated to the business owner defendant in

  Cobbler. Opp. 28; Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142 (9th Cir. 2018). But that is

  incorrect for the reasons stated in Cox’s opening brief, which Plaintiffs fail to address. See Mot.

  20-23. The application of Cobbler to this case is straightforward, and contrary to Plaintiffs’


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    See also VHT, Inc. Zillow Grp., Inc., 918 F.3d 723, 747 (9th Cir. 2019) (explaining that
  “consideration of the independent economic value factor does not answer the question whether
  something is a compilation.”)
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  misleading argument, concerns knowledge, not “identity.” 11 In Cobbler, the Ninth Circuit held, in

  keeping with well-established principles of secondary liability, that merely sending copyright

  infringement notices alleging that a business’s IP address was used for infringement is insufficient

  to state a claim for either direct or contributory infringement against the business. 901 F.3d at

  1145. So too here, where Plaintiffs’ notices directed to Cox Business subscribers were insufficient

  to establish that the subscriber was a direct or contributory infringer.

         Plaintiffs’ argument that Cox is “differently situated” from the defendant in Cobbler thus

  lacks both merit and relevance. But even if their argument were well taken as to Cox itself, there

  can be no dispute that the Cox Business subscribers in this case are similarly situated to the business

  owner defendant in Cobbler. As Cobbler demonstrates, even if one assumes that end users of a

  business subscriber’s internet account are using their access to infringe copyrights through the

  account, that alone is insufficient to show that the business owner is a direct infringer. Furthermore,

  merely receiving infringement notices associated with an IP address is insufficient, without more,

  to give the business subscriber the requisite knowledge to make them a contributory infringer with

  respect to direct infringement by an unidentified user. That is precisely what occurred here.

  Accordingly, Cox cannot be liable for the unproven conduct of any Cox Business subscriber.

         The only way Plaintiffs can show that Cox was a contributory infringer in these

  circumstances is by showing that Cox somehow obtained actual knowledge of specific acts of

  infringement by the Cox Business owners’ end users. But Plaintiffs fail even to suggest any means

  by which Cox could have obtained such knowledge, particularly when Cox was even further




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     Plaintiffs’ citation to BMG I is inapposite, since that decision concerned the unrelated, and here
  irrelevant, issue of whether a residential subscriber could be held liable for direct infringement if
  someone other than the named subscriber (such as a family member) was actually infringing. The
  BMG case did not address the distinctions between business and residential subscribers.
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  removed from the direct infringement than the Cox Business subscribers. No reasonable jury could

  find that Cox was a contributory infringer as to Cox Business subscribers on these facts.

  IV.     Plaintiffs’ Evidence of Direct Infringement is Insufficient

          Plaintiffs’ entire direct infringement case rests on inadequate and incomplete evidentiary

  records, none of which contain any copies of Plaintiffs’ (or anyone else’s) downloaded content.

          A.      Plaintiffs’ evidence of direct infringement by reproduction is insufficient.

          As to direct infringement of the reproduction right, Plaintiffs concede that, at best,

  approximately 15% of the records they rely on contain evidence indicating that a targeted Cox

  subscriber was engaged in copying anything, let alone copies of Plaintiffs’ works in suit. Plaintiffs

  argue that the jury could nonetheless “reasonably … infer” copying in the vast majority of cases

  (approximately 85%) for which Plaintiffs lack even that much evidence. But they provided no

  survey or sample evidence, no other direct evidence of copying, and no testimony from any expert

  qualified to opine about whether it was reasonable to extrapolate from Plaintiffs’ cherry-picked

  yet incomplete data to the entire universe of allegedly infringed works. Opp. 6-7. The supporting

  opinion of Plaintiffs’ expert is insufficient since she lacks relevant expertise. 12

          Moreover, even if the meager evidence they provided were sufficient to support an

  inference that some of the works at issue were directly infringed—which it is not—Plaintiffs to

  this day have failed to provide any evidence about which works, or even how many works, that

  evidence implicates. See Opp. 6.

          B.      Plaintiffs’ evidence of direct infringement by distribution is insufficient.

          This Court’s decision in BMG I teaches that a plaintiff who brings secondary infringement


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     See, for example, Ms. Frederiksen-Cross’s comment that it is “nonsensical” to think that an
  individual “bought something and then created torrents for it so they could give it away to total
  strangers en masse.” Opp. 7. This view is itself “nonsensical”: obviously, P2P content online must
  have originated from somewhere in the first place.
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  claims based on a distribution theory must have at least some evidence that direct infringement

  actually occurred, in the form of actual transmissions of works-in-suit. This is not, as Plaintiffs

  claim, a “hyper-technical argument”—it is the law. Plaintiffs cite BMG I to argue that they are

  entitled to rely on circumstantial evidence to show actual downloads, but fail to provide even the

  quantum of evidence that the Court found sufficient to avoid summary judgment in that case.

  Plaintiff in BMG survived summary judgment on this issue because the Court found that its agent,

  Rightscorp, had actually downloaded 100,000 copies of the works at issue “from Cox subscribers

  using Cox’s internet service[.]” Id. at 670. Plaintiffs point to no cases where such claims survived

  summary judgment in the absence of at least that much evidence.

         Unable to point to any evidence (even circumstantial) of an actual dissemination, Plaintiffs

  argue for a discredited theory of “deemed distribution” based on Hotaling v. Church of Jesus Christ

  of Latter-Day Saints, 118 F.3d 199 (4th Cir. 1997). See Opp. at 5. This Court rejected that theory

  in BMG: for the same reasons, it fares no better here. Plaintiffs’ claim that this case is “squarely

  within this Court’s reading of Hotaling,” Opp. 5, is simply incorrect, and ignores the host of recent

  decisions—including this Court’s BMG decision—that have rejected applying Hotaling to

  allegations of P2P infringement virtually indistinguishable from Plaintiffs’ here. See BMG I at 665,

  668; and see, e.g., Capitol Records, Inc. v. Thomas, 579 F. Supp. 2d 1210, 1224 (D. Minn. 2008).

         Plaintiffs’ claim that P2P protocols are “designed to make it impossible for anyone to

  observe the interactions between two peers” fails to address Plaintiffs’ fatal failure to provide any

  evidence, even circumstantial evidence, of distribution. Plaintiffs lack any direct or circumstantial

  evidence of “actual dissemination” because they chose not to collect it, not because it was

  “impossible” to do so. And their argument that it is “impossible to know how many distributions

  took place,” Opp. 5, is irrelevant: a direct infringement claim does not depend on “how many



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  times” infringement occurred, but whether infringement occurred at all. Finally, “deemed

  distribution” applies (if at all) only “when the proof is impossible to produce because the infringing

  [defendant] has not kept records of public use.” BMG I at 666 (emphasis added, quoting Goldstein

  on Copyright § 7.5.1 (3d ed. 2012 Supp.)). Plaintiffs failed to collect, preserve, or produce data

  that could have supported (or refuted) their direct infringement claims, and so lack sufficient

  evidence to support those claims. No reasonable jury could find otherwise.

  V.     Plaintiffs’ Evidence is Insufficient to Hold Cox Liable as a Contributory Infringer

         Plaintiffs have no answer to Cox’s argument that, far from “engag[ing] in … conduct that

  encourages or assists the infringement” at issue—as required to support a finding of contributory

  infringement—Cox actively discouraged infringement. Instead of making any effort to show how

  the evidence in this case shows that Cox’s conduct with respect to Plaintiffs’ works at issue met

  that legal standard, or attempting to address the numerous facts distinguishing this case from those

  they rely on, Plaintiffs simply string-cite decisions that rested on substantially different evidence.

  Those decisions are inapposite here, where Cox took demonstrably (and indisputably) effective

  simple measures to discourage infringing uses of its general-purpose ISP service for infringement,

  and Cox’s service provided access to the Internet for a myriad of uses unrelated to infringement.

         Plaintiffs’ contention that Cox’s effective efforts to discourage infringement are irrelevant,

  because the jury “found otherwise,” begs the question: the jury’s finding must be set aside where,

  as here, its finding was not reasonable. Plaintiffs failed to provide evidence from which a

  reasonable jury could conclude that Cox materially contributed to the direct infringements at issue

  in this case, and Cox is entitled to JMOL of no liability on this issue.

                                            CONCLUSION

         For the reasons set forth in Cox’s Motion and this Reply, the Court should grant Cox

  judgment as a matter of law or, in the alternative, a new trial, on each of these issues.

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  Dated: March 13, 2020                      Respectfully submitted,

                                             /s/ Thomas M. Buchanan
                                             Thomas M. Buchanan (VSB No. 21530)
                                             WINSTON & STRAWN LLP
                                             1700 K Street, NW
                                             Washington, DC 20006-3817
                                             Tel: (202) 282-5787
                                             Fax: (202) 282-5100
                                             Email: tbuchana@winston.com

                                             Attorney for Cox Communications, Inc.
                                             and CoxCom, LLC



  Of Counsel for Defendants




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  Michael S. Elkin (pro hac vice)
  Thomas Patrick Lane (pro hac vice)
  Sean R. Anderson (pro hac vice)
  WINSTON & STRAWN LLP
  200 Park Avenue
  New York, NY 10166-4193
  Telephone: (212) 294-6700
  Facsimile: (212) 294-4700
  Email: melkin@winston.com
  Email: tlane@winston.com

  Jennifer A. Golinveaux (pro hac vice)
  Thomas J. Kearney (pro hac vice)
  WINSTON & STRAWN LLP
  101 California Street, 35th Floor
  San Francisco, CA 94111-5840
  Telephone: (415) 591-1000
  Facsimile: (415) 591-1400
  Email: jgolinveaux@winston.com
  Email: tkearney@winston.com

  Michael L. Brody (pro hac vice)
  WINSTON & STRAWN LLP
  35 W. Wacker Dr.
  Chicago, IL 60601
  Telephone: (312) 558-5600
  Facsimile: (312) 558-5700
  Email: mbrody@winston.com

  Geoffrey P. Eaton (pro hac vice)
  WINSTON & STRAWN LLP
  1700 K St. NW
  Washington, DC 20006-3817
  Tel: (202) 282-5705
  Fax: (202) 282-5100
  Email: geaton@winston.com

  Diana Hughes Leiden (pro hac vice)
  WINSTON & STRAWN LLP
  333 S. Grand Avenue, Suite 3800
  Los Angeles, CA 90071
  Telephone: (213) 615-1700
  Facsimile: (213) 615-1750
  Email: dhleiden@winston.com




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 13, 2020, the foregoing was filed and served electronically

  by the Court’s CM/ECF system upon all registered users.



                                                       /s/ Thomas M. Buchanan
                                                       Thomas M. Buchanan (VSB No. 21530)
                                                       1700 K Street, NW
                                                       Washington, DC 20006-3817
                                                       Tel: (202) 282-5787
                                                       Fax: (202) 282-5100
                                                       Email: tbuchana@winston.com

                                                       Attorney for Cox Communications, Inc.
                                                       and CoxCom, LLC




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